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By CM/ECF

May 12, 2022

Hon. John L. Sinatra, Jr.
United States District Judge
Robert H. Jackson United States Courthouse
2 Niagara Square
Buffalo, New York 14202

       Re:      Express Gold Cash, Inc. v. C.J. Environmental, Inc. et al
                Case No. 1:22-cv-00352-JLS

Dear Judge Sinatra:

I represent Plaintiff Express Gold Cash, Inc. in the above-captioned matter. I am seeking
guidance concerning the Court’s Order entered May 12, 2022, granting the motion to expedite
and directing Plaintiff to serve the papers “on counsel for Defendants” by May 16, 2022.

Only one of the parties is believed to be represented by counsel (CJ Environmental) and three
parties are not implicated in the underlying motion at all (Steer Digital, Daniel Brown, and
Adam Toutain).

   1) I assume the Court wants expedited service only on the two defendants implicated by
      the motion (CJ Environmental and Emma Johnson). If not, timely expedited service
      on the non-implicated United Kingdom-based defendants will be difficult. Kindly
      clarify the scope of the Text Order.

   2) To my knowledge, Emma Johnson Inc. is not represented by counsel, so we are unable
      to serve counsel. Thus, technical compliance with the Court’s Order is not possible.
      However, we personally served the CEO prior to the Court’s entry of the Text Order.
      I will additionally serve the Text Order by legally sufficient expedited means and
      email. I am informing the Court out of an abundance of caution.

Thank you for your attention to the above.



Sincerely,




Kamran F. Hashmi, Esq.
